
Justice Ginsburg
delivered the opinion of the Court.
We granted review in this case to decide a question presented, but left unresolved, in District Attorney’s Office for Third Judicial Dist. v. Osborne, 557 U. S. 52, 65-67 (2009): May a convicted state prisoner seeking DNA testing of crime-scene evidence assert that claim in a civil rights action under 42 U. S. C. § 1983, or is such a claim cognizable in federal court only when asserted in a petition for a writ of ha-beas corpus under 28 U. S. C. § 2254? The Courts of Appeals have returned diverse responses. Compare McKithen v. Brown, 481 F. 3d 89, 99 (CA2 2007) (claim seeking DNA testing is cognizable under § 1983); Savory v. Lyons, 469 F. 3d 667, 669 (CA7 2006) (same); and Bradley v. Pryor, 305 F. 3d 1287, 1290-1291 (CA11 2002) (same), with Harvey v. Horan, 278 F. 3d 370, 375 (CA4 2002) (claim is not cognizable under *525§ 1983); and Kutzner v. Montgomery County, 303 F. 3d 339, 341 (CA5 2002) (per curiam) (same).
In Wilkinson v. Dotson, 544 U. S. 74 (2005), we comprehensively surveyed this Court’s decisions on the respective provinces of § 1983 civil rights actions and §2254 federal ha-beas petitions. Habeas is the exclusive remedy, we reaffirmed, for the prisoner who seeks “immediate or speedier release” from confinement. Id., at 82. Where the prisoner’s claim would not “necessarily spell speedier release,” however, suit may be brought under § 1983. Ibid. Adhering to our opinion in Dotson, we hold that a postconviction claim for DNA testing is properly pursued in a § 1983 action. Success in the suit gains for the prisoner only access to the DNA evidence, which may prove exculpatory, inculpatory, or inconclusive. In no event will a judgment that simply orders DNA tests “necessarily impl[y] the unlawfulness of the State’s custody.” Id., at 81. We note, however, that the Court’s decision in Osborne severely limits the federal action a state prisoner may bring for DNA testing. Osborne rejected the extension of substantive due process to this area, 557 U. S., at 72, and left slim room for the prisoner to show that the governing state law denies him procedural due process, see id., at 71.
I
In 1995, a Texas jury convicted petitioner Henry Skinner and sentenced him to death for murdering his live-in girlfriend, Twila Busby, and her two sons. Busby was bludgeoned and choked with an axe handle and her sons were stabbed to death; the murders were committed in the house Busby shared with Skinner.
Skinner never denied his presence in the house when the killings occurred. He claimed, however, that he was incapacitated by large quantities of alcohol and codeine. The potent alcohol and drug mix, Skinner maintained at trial, rendered him physically unable to commit the brutal murders charged against him. Skinner identified, as a likely *526perpetrator, Busby’s uncle, Robert Donnell (now deceased), an ex-convict with a history of physical and sexual abuse.1 On direct appeal, the Texas Court of Criminal Appeals (CCA) affirmed Skinner’s conviction and sentence. Skinner v. State, 956 S. W. 2d 532, 546 (1997). The CCA’s opinion described the crime-scene evidence in detail:
“As they approached the house . . ., the police noticed a trail of blood spots on the ground running from the front porch to the fence line. There was a blood smear on the glass storm door and a knife on the front porch. Upon entering the residence, the police found Twila’s dead body on the living room floor.... An ax handle stained with blood and hair was leaning against the couch near her body and a black plastic trash bag containing a knife and a towel with wet brownish stains on it was laying between the couch and the coffee table.
“[One officer] proceeded to the bedroom where [Busby’s two sons] usually slept in bunk beds. [The officer] found [one] dead body laying face down on the upper bunk, covered by a blood spotted blanket. ... A door leading out of the bedroom and into a utility room yielded further evidence. [He] noticed a bloody hand-print located about 24 inches off the floor on the frame of this door. He also noted a bloody handprint on the door knob of the door leading from the kitchen to the utility room and a handprint on the knob of the door exiting from the utility room into the backyard.
“[When] police arrested [Skinner]... [t]hey found him standing in a closet wearing blood-stained socks and blood-stained blue jeans.” Id., at 536.
*527Investigators also retained vaginal swabs taken from Busby.
In preparation for trial, “the State tested the blood on [Skinner’s] clothing, blood and hair from a blanket that partially covered one of the victims, and hairs on one of the victim’s back and cheeks.” Skinner v. State, 122 S. W. 3d 808, 810 (Tex. Crim. App. 2003). The State also tested fingerprint evidence. Some of this evidence — including bloody palm prints in the room where one victim was killed — implicated Skinner, but “fingerprints on a bag containing one of the knives” did not. Ibid. Items left untested included the knives found on the premises, the axe handle, vaginal swabs, fingernail clippings, and additional hair samples. See ibid.2
In the decade following his conviction, Skinner unsuccessfully sought state and federal postconviction relief. See Skinner v. Quarterman, 576 F. 3d 214 (CA5 2009), cert. denied, 559 U. S. 975 (2010). He also pursued informal efforts to gain access to untested biological evidence the police had collected at the scene of the crime.3
In 2001, more than six years after Skinner’s conviction, Texas enacted Article 64, a statute allowing prisoners to gain postconviction DNA testing in limited circumstances. Tex. Code Crim. Proc. Ann., Art. 64.01(a) (Vernon Supp. 2010). To obtain DNA testing under Article 64, a prisoner must meet one of two threshold criteria. He may show that, at trial, testing either was “not available” or was “available, but *528not technologically capable of providing probative results.” Art. 64.01(b)(1)(A). Alternatively, he may show that the evidence was not previously tested “through no fault” on his part, and that “the interests of justice” require a postconviction order for testing. Art. 64.01(b)(1)(B). To grant a motion for postconviction testing, a court must make further findings, prime among them, the movant “would not have been convicted if exculpatory results had been obtained through DNA testing,” and “the [Article 64] request... [was] not made to unreasonably delay the execution of sentence or administration of justice.” Art. 64.03(a)(2).
Invoking Article 64, Skinner twice moved in state court, first in 2001 and again in 2007, for DNA testing of yet untested biological evidence. See supra, at 527, n. 3. Both motions were denied. Affirming the denial of Skinner’s first motion, the CCA held that he had failed to demonstrate a “reasonable probability . . . that he would not have been .. . convicted if the DNA test results were exculpatory.” Skinner v. State, 122 S. W. 3d, at 813.
Skinner’s second motion was bolstered by discovery he had obtained in the interim.4 The CCA again affirmed the denial of relief under Article 64, this time on the ground that Skinner failed to meet the “no fault” requirement. See Skinner v. State, 293 S. W. 3d 196, 200 (2009).5 During post-conviction proceedings, the CCA noted, trial counsel testified that he had not “ask[ed] for testing because he was afraid the *529DNA would turn out to be [Skinner’s].” Id., at 202. That decision, the CCA concluded, constituted “a reasonable trial strategy” that the court had no cause to second-guess. Id., at 209.
Skinner next filed the instant federal action for injunctive relief under §1983, naming as defendant respondent Lynn Switzer, the District Attorney whose office prosecuted Skinner and has custody of the evidence Skinner would like to have DNA tested. Skinner’s federal-court complaint alleged that Texas violated his Fourteenth Amendment right to due process by refusing to provide for the DNA testing he requested. Complaint ¶ 33, App. 20-21. The Magistrate Judge recommended dismissal of the complaint for failure to state a claim upon which relief can be granted. App. 24-41. Under the governing Circuit precedent, Kutzner v. Montgomery County, 303 F. 3d 339, the Magistrate Judge observed, postconviction requests for DNA evidence are cognizable only in habeas corpus, not under §1983. App. 39. Adopting the Magistrate Judge’s recommendation, the District Court dismissed Skinner’s suit. Id., at 44-45.
On appeal, the United States Court of Appeals for the Fifth Circuit affirmed, 363 Fed. Appx. 302 (2010) (per curiam), reiterating that “an action by a prisoner for post-conviction DNA testing is not cognizable under § 1983 and must instead be brought as a petition for writ of habeas corpus,” id., at 303. On Skinner’s petition,6 we granted certiorari, 560 U. S. 924 (2010), and now reverse the Fifth Circuit’s judgment.
II
A
Because this case was resolved on a motion to dismiss for failure to state a claim, the question below was “not whether *530[Skinner] will ultimately prevail” on his procedural due process claim, see Scheuer v. Rhodes, 416 U. S. 232, 236 (1974), but whether his complaint was sufficient to cross the federal court’s threshold, see Swierkiewicz v. Sorema N. A., 534 U. S. 506, 514 (2002). Skinner’s complaint is not a model of the careful drafter’s art, but under the Federal Rules of Civil Procedure, a complaint need not pin plaintiff’s claim for relief to a precise legal theory. Rule 8(a)(2) of the Federal Rules of Civil Procedure generally requires only a plausible “short and plain” statement of the plaintiff’s claim, not an exposition of his legal argument. See 5 C. Wright &amp; A. Miller, Federal Practice &amp; Procedure § 1219, pp. 277-278 (3d ed. 2004 and Supp. 2010).
Skinner stated his due process claim in a paragraph alleging that the State’s refusal “to release the biological evidence for testing . . . has deprived [him] of his liberty interests in utilizing state procedures to obtain reversal of his conviction and/or to obtain a pardon or reduction of his sentence . ...” Complaint ¶33, App. 20-21. As earlier recounted, see supra, at 528-529, Skinner had twice requested and failed to obtain DNA testing under the only state-law procedure then available to him. See Complaint ¶¶ 22-31, App. 14-20.7 At oral argument in this Court, Skinner’s counsel clarified the gist of Skinner’s due process claim: He does not challenge the prosecutor’s conduct or the decisions reached by the CCA in applying Article 64 to his motions; instead, he challenges, as denying him procedural due process, Texas’ postconviction DNA statute “as construed” by the Texas courts. Tr. of Oral Arg. 56. See also id., at 52-53 (Texas courts, Skinner’s counsel argued, have “construed the statute to completely foreclose any prisoner who could have sought DNA testing prior to trial[,] but did not[,] from seeking testing” postconviction).8
*531The merits of Skinner’s federal-court complaint assailing the Texas statute as authoritatively construed, and particularly the vitality of his claim in light of Osborne, see supra, at 525 — unaddressed by the District Court or the Fifth Circuit — are not ripe for review. We take up here only the questions whether there is federal-court subject-matter jurisdiction over Skinner’s complaint, and whether the claim he presses is cognizable under § 1983.
B
Respondent Switzer asserts that Skinner’s challenge is “[j]urisdictionally [bjarred” by what has come to be known as the Rooker-Feldman doctrine. Brief for Respondent 48-49 (boldface deleted). In line with the courts below, we conclude that Rooker-Feldman does not bar Skinner’s suit.
As we explained in Exxon Mobil Corp. v. Saudi Basic Industries Corp., 544 U. S. 280 (2005), the Rooker-Feldman doctrine has been applied by this Court only twice, i. e., only in the two cases from which the doctrine takes its name: first, Rooker v. Fidelity Trust Co., 263 U. S. 413 (1923), then 60 years later, District of Columbia Court of Appeals v. Feldman, 460 U. S. 462 (1983). Both cases fit this pattern: The losing party in state court9 filed suit in a U. S. District Court after the state proceedings ended, complaining of an injury caused by the state-court judgment and seeking federal-court review and rejection of that judgment. Alleging federal-question jurisdiction, the plaintiffs in Rooker and Feldman asked the District Court to overturn the injurious state-court judgment. We held, in both cases, that the District Courts lacked subject-matter jurisdiction over such *532claims, for 28 U. S. C. § 1257 “vests authority to review a state court’s judgment solely in this Court.” See Exxon, 544 U. S., at 292.
We observed in Exxon that the Rooker-Feldman doctrine had been construed by some federal courts “to extend far beyond the contours of the Rooker and Feldman cases.” 544 U. S., at 283. Emphasizing “the narrow ground” occupied by the doctrine, id., at 284, we clarified in Exxon that Rooker-Feldman “is confined to cases of the kind from which the doctrine acquired its name: eases brought by state-court losers .. . inviting district court review and rejection of [the state court’s] judgments,” 544 U. S., at 284.
Skinner’s litigation, in light of Exxon, encounters no Rooker-Feldman shoal. “If a federal plaintiff ‘presents] [an] independent claim,’ ” it is not an impediment to the exercise of federal jurisdiction that the “same or a related question” was earlier aired between the parties in state court. 544 U. S., at 292-293 (quoting GASH Assocs. v. Rosemont, 995 F. 2d 726, 728 (CA7 1993); first alteration in original); see In re Smith, 349 Fed. Appx. 12, 18 (CA6 2009) (Sutton, J., concurring in part and dissenting in part) (a defendant’s federal challenge to the adequacy of state-law procedures for postconviction DNA testing is not within the “limited grasp” of Rooker-Feldman).
As earlier noted, see supra, at 530, Skinner does not challenge the adverse CCA decisions themselves; instead, he targets as unconstitutional the Texas statute they authoritatively construed. As the Court explained in Feldman, 460 U. S., at 487, and reiterated in Exxon, 544 U. S., at 286, a state-court decision is not reviewable by lower federal courts, but a statute or rule governing the decision may be challenged in a federal action.10 Skinner’s federal case falls *533within the latter category. There was, therefore, no lack of subject-matter jurisdiction over Skinner’s federal suit.11
C
When may a state prisoner, complaining of unconstitutional state action, pursue a civil rights claim under § 1983, and when is habeas corpus the prisoner’s sole remedy? This Court has several times considered that question. Path-marking here is Heck v. Humphrey, 512 U. S. 477 (1994). The plaintiff in that litigation was a state prisoner serving time for manslaughter. He brought a § 1983 action for damages, alleging that he had been unlawfully investigated, arrested, tried, and convicted. Although the complaint in Heck sought monetary damages only, not release from confinement, we ruled that the plaintiff could not proceed under § 1983. Any award in his favor, we observed, would “necessarily imply” the invalidity of his conviction. See id., at 487. When “a judgment in favor of the plaintiff would necessarily imply the invalidity of his conviction or sentence,” the Court held, § 1983 is not an available remedy. Ibid. “But if . . . the plaintiff’s action, even if successful, will not demonstrate the invalidity of [his conviction or sentence], the [§ 1983] action should be allowed to proceed .. ..” Ibid.
We summarized the relevant case law most recently in Wilkinson v. Dotson, 544 U. S. 74 (2005). That case involved prisoners who challenged the constitutionality of administrative decisions denying them parole eligibility. They could proceed under § 1983, the Court held, for they sought no “injunction ordering . . . immediate or speedier release into the community,” id., at 82, and “a favorable judgment *534[would] not ‘necessarily imply the invalidity of [their] eonviction[s] or sentenced],’” ibid. (quoting Heck, 512 U. S., at 487; first alteration added).
Measured against our prior holdings, Skinner has properly invoked § 1983. Success in his suit for DNA testing would not “necessarily imply” the invalidity of his conviction. While test results might prove exculpatory, that outcome is hardly inevitable; as earlier observed, see supra, at 525, results might prove inconclusive or they might further incriminate Skinner. See Nelson v. Campbell, 541 U. S. 637, 647 (2004) (“[W]e were careful in Heck to stress the importance of the term ‘necessarily.’”).12
Respondent Switzer nevertheless argues, in line with Fifth Circuit precedent, see Kutzner, 303 F. 3d, at 341, that Skinner’s request for DNA testing must be pursued, if at all, in an application for habeas corpus, not in a § 1983 action. The dissent echoes Switzer’s argument. See post, at 539. Although Skinner’s immediate plea is simply for an order requiring DNA testing, his ultimate aim, Switzer urges, is to use the test results as a platform for attacking his conviction. It suffices to point out that Switzer has found no case, nor has the dissent, in which the Court has recognized habeas as the sole remedy, or even an available one, where the relief sought would “neither terminat[e] custody, aecelerat[e] the future date of release from custody, nor reduc[e] the level of custody.” Dotson, 544 U. S., at 86 (Scalia, J., concurring).
Respondent Switzer and her amici forecast that a “vast expansion of federal jurisdiction . . . would ensue” were we to hold that Skinner’s complaint can be initiated under §1983. See Brief for National District Attorneys Association as Amicus Curiae 8. In particular, they predict a proliferation of federal civil actions “seeking postconviction discovery of evidence [and] other relief inescapably associ*535ated with the central questions of guilt or punishment.” Id., at 6. These fears, shared by the dissent, post, at 542, are unwarranted.13
In the Circuits that currently allow § 1983 claims for DNA testing, see supra, at 524, no evidence tendered by Switzer shows any litigation flood or even rainfall. The projected toll on federal courts is all the more implausible regarding DNA testing claims, for Osborne has rejected substantive due process as a basis for such claims. See supra, at 525.
More generally, in the Prison Litigation Reform Act of 1995 (PLRA), 110 Stat. 1321-66, Congress has placed a series of controls on prisoner suits, constraints designed to prevent sportive filings in federal court. See, e.g., PLRA § 803(d) (adding 42 U. S. C. § 1997e to create new procedures and penalties for prisoner lawsuits under § 1983); PLRA § 804(a)(3) (adding 28 U. S. C. § 1915(b)(1) to require any prisoner proceeding in forma pauperis to pay the full filing fee out of a percentage of his prison trust account); PLRA § 804(c)(3) (adding 28 U. S. C. § 1915(f) to require prisoners to pay the full amount of any cost assessed against them out of their prison trust account); PLRA § 804(d) (adding 28 U. S. C. § 1915(g) to revoke, with limited exception, in forma pau-peris privileges for any prisoner who has filed three or more *536lawsuits that fail to state a claim, or are malicious or frivolous). See also Crawford-El v. Britton, 523 U. S. 574, 596—597 (1998) (PLRA aims to “discourage prisoners from filing claims that are unlikely to succeed,” and statistics suggest that the Act is “having its intended effect”).
Nor do we see any cause for concern that today’s ruling will spill over to claims relying on Brady v. Maryland, 373 U. S. 83 (1963); indeed, Switzer makes no such assertion. Brady announced a constitutional requirement addressed first and foremost to the prosecution’s conduct pretrial. Brady proscribes withholding evidence “favorable to an accused” and “material to [his] guilt or to punishment.” Cone v. Bell, 556 U. S. 449, 451 (2009). To establish that a Brady violation undermines a conviction, a convicted defendant must make each of three showings: (1) the evidence at issue is “favorable to the accused, either because it is exculpatory, or because it is impeaching”; (2) the State suppressed the evidence, “either willfully or inadvertently”; and (3) “prejudice . . . ensued.” Strickler v. Greene, 527 U. S. 263, 281-282 (1999); see Banks v. Dretke, 540 U. S. 668, 691 (2004).
Unlike DNA testing, which may yield exculpatory, incriminating, or inconclusive results, a Brady claim, when successful postconviction, necessarily yields evidence undermining a conviction: Brady evidence is, by definition, always favorable to the defendant and material to his guilt or punishment. See Strickler, 527 U. S., at 296. And parties asserting Brady violations postconviction generally do seek a judgment qualifying them for “immediate or speedier release” from imprisonment. See Dotson, 544 U. S., at 82. Accordingly, Brady claims have ranked within the traditional core of habeas corpus and outside the province of § 1983. See Heck, 512 U. S., at 479, 490 (claim that prosecutors and an investigator had “ ‘knowingly destroyed’ evidence ‘which was exculpatory in nature and could have proved [petitioner’s] innocence’ ” cannot be maintained under § 1983); Amaker v. *537Weiner, 179 F. 3d 48, 51 (CA2 1999) (“claim [that] sounds under Brady v. Maryland ... does indeed call into question the validity of [the] conviction”); Beck v. Muskogee Police Dept., 195 F. 3d 553, 560 (CA10 1999) (same).
Ill
Finally, Switzer presents several reasons why Skinner’s complaint should fail for lack of merit. Those arguments, unaddressed by the courts below, are ripe for consideration on remand. “[M]indful that we are a court of review, not of first view,” Cutter v. Wilkinson, 544 U. S. 709, 718, n. 7 (2005), we confine this opinion to the matter on which we granted certiorari and express no opinion on the ultimate disposition of Skinner’s federal action.
* * *
For the reasons stated, the judgment of the Court of Appeals for the Fifth Circuit is reversed, and the case is remanded for further proceedings consistent with this opinion.

It is so ordered.


 At trial, a defense witness testified that, on the evening of the killings, Busby had spurned Donnell’s “rude sexual advances.” Skinner v. State, 956 S. W. 2d 532, 535 (Tex. Crim. App. 1997). A neighbor related at a federal posteonviction hearing that she observed Donnell, a day or two after the murders, thoroughly cleaning the carpets and inside of his pickup truck. See Skinner v. Quarterman, 528 F. 3d 336, 345 (CA5 2008).


 After Skinner’s conviction, the State performed DNA tests on certain additional materials, but Skinner took no part in the selection of those materials or their testing. Skinner maintains that these ex parte tests were inconclusive. See Complaint ¶ 19, App. 12 (this “testing raised more questions than it answered”). But see Skinner v. State, 122 S. W. 3d 808, 811 (Tex. Crim. App. 2003) (some findings were “inculpatory”).


 Skinner’s trial counsel, although aware that biological evidence remained untested, did not request further testing. Postconviction, Skinner sought DNA testing of vaginal swabs and fingernail clippings taken from Busby, blood and hairs on a jacket found next to Busby’s body, and biological material on knives and a dish towel recovered at the crime scene. Complaint ¶ 22, App. 14-15.


 On the basis of discovery in a federal postconviction proceeding, an expert retained by Skinner concluded that Skinner, Busby, and her two sons could be excluded as sources of a hair collected from Busby’s right hand after the killings. See Record 190. See also Complaint ¶27, App. 18.


 The District Attorney, in response to Skinner’s second motion, informed the Texas District Court that “[t]o the best of the State’s information, knowledge, and belief, the items sought to be tested are still available for testing, the chain of custody is intact, and the items are in a condition to be tested although the State has not sought expert opinion in that regard.” Record 202. See also Complaint ¶ 29, App. 19.


 The State of Texas scheduled Skinner’s execution for March 24, 2010. We granted Skinner’s application to stay his execution until further action of this Court. 559 U. S. 1033 (2010).


 He also persistently sought the State’s voluntary testing of the materials he identified. See Complaint ¶ 31, App. 20.


 Unlike the respondent in District Attorney’s Office for Third Judicial Dist. v. Osborne, 557 U. S. 52 (2009), who “attempt[ed] to sidestep state *531process through ... a federal lawsuit,” id., at 71, Skinner first resorted to state court, see supra, at 528-529. In this respect, Skinner is better positioned to urge in federal court “the inadequacy of the state-law procedures available to him in state postconviction relief.” Osborne, 557 U. S., at 71.


 The judgment assailed in Feldman was rendered by the District of Columbia Court of Appeals, equivalent for this purpose to a State’s highest court.


 The Court further observed in Exxon Mobil Corp. v. Saudi Basic Industries Corp., 544 U. S. 280, 292-293 (2005), that “[w]hen there is parallel state and federal litigation,” state preclusion law may become decisive, but “[plreclusion ... is not a jurisdictional matter.”


 Switzer asserts that Skinner could have raised his federal claim in the Article 64 proceeding. See Tr. of Oral Arg. 48. Even if that were so, “Rooker-Feldman is not simply preclusion by another name,” Lance v. Dennis, 546 U. S. 459, 466 (2006) (per curiam), and questions of preclusion unresolved below are “best left for full airing and decision on remand,” id., at 467 (Ginsburg, J., concurring).


 The dissent would muddle the clear line Heck and Dotson drew, and instead would instruct district courts to resort to “first principles” each time a state prisoner files a § 1983 claim in federal court. Post, at 538, 543.


 Unlike the parole determinations at issue in Wilkinson v. Dotson, 544 U. S. 74 (2005), Switzer urges, claims like Skinner’s require inquiry into the State’s proof at trial and therefore lie at “the core of the criminal proceeding itself.” Tr. of Oral Arg. 41; see id., at 33-34. Dotson declared, however, in no uncertain terms, that when a prisoner’s claim would not “necessarily spell speedier release,” that claim does not lie at “the core of habeas corpus,” and may be brought, if at all, under § 1983. 544 U. S., at 82 (majority opinion) (internal quotation marks omitted); see id., at 85-86 (Scalia, J., concurring). Whatever might be said of Switzer’s argument were we to recast our doctrine, Switzer’s position cannot be reconciled with the line our precedent currently draws. Nor can the dissent’s advocacy of a “retur[n] to first principles.” Post, at 543. Given the importance of providing clear guidance to the lower courts, “we [again] see no reason for moving the line [our] cases draw.” Dotson, 544 U. S., at 84.

